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8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )          CASE NO. 2:09-CR-0438 EJG
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND
                                   )          ORDER TO EXCLUDE TIME
14   NGAI CHUNG HUNG, et.al.       )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17        The parties request that the status conference in this case
18   be continued from July 16, 2010 to October 1, 2010 at 10:00 a.m.
19   They stipulate that the time between July 16, 2010 and October 1,
20   2010 should be excluded from the calculation of time under the
21   Speedy Trial Act.   The parties stipulate that the ends of justice
22   are served by the Court excluding such time, so that counsel for
23   the defendant may have reasonable time necessary for effective
24   preparation, taking into account the exercise of due diligence.
25   18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.         Specifically,
26   the defense counsel and the defendants need additional time to
27   review discovery, which exceeds 20,000 pages.        Additional
28   discovery will be provided to defense counsel in the coming weeks

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1    Furthermore, all defense counsel need to review the items seized
2    during the execution of the search warrants that are being held
3    by the IRS.
4         The parties also stipulate and agree that the case is
5    complex due to the nature of the prosecution and the number of
6    defendant charged pursuant to 18 U.S.C. § 3161(h)(7)(b)(ii) and
7    Local Code T-2.   This matter has previously been found by the
8    Court to be complex.
9         The parties stipulate and agree that the interests of
10   justice served by granting this continuance outweigh the best
11   interests of the public and the defendant in a speedy trial.          18
12   U.S.C. § 3161(h)(7)(A).
13                                           Respectfully Submitted,
14                                           BENJAMIN B. WAGNER
                                             United States Attorney
15

16   DATE: July 14, 2010        By:    /s/ Heiko P. Coppola
                                           HEIKO P. COPPOLA
17                                         Assistant U.S. Attorney
18   DATE: July 14, 2010               /s/ Josephy J. Wiseman
                                           JOSPEH J. WISEMAN
19                                         Attorney for Defendant Ngai
                                           Chung Hung
20
                                       /s/ Christopher Haydn-Myer
21                                         CHRISTOPHER HAYDN-MYER
                                           Attorney for Defendant Wing
22                                         Chou Chan
23                                     /s/ Dan Koukol
                                           DAN KOUKOL
24                                         Attorney for Defendant Wayne
                                           Feng
25

26                                           SO ORDERED.
27   DATE: July 14, 2010
                                             /s/ Edward J. Garcia
28                                           EDWARD J. GARCIA
                                             Senior U.S. District Judge
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